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                                UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                        PORTLAND DIVISION

TIFFANY HOPKINS,                                       Case No. 3:18-cv-01960-BR

                   Plaintiff,
                                                       CORPORATE DISCLOSURE
         v.                                            STATEMENT FOR DEFENDANT
                                                       CITIBANK, N.A.
CITIBANK, N.A.,

                   Defendant.


                   Defendant Citibank, N.A., ("Citibank") submits this corporate disclosure

statement in accordance with the applicable local rules.

                   1.      Citibank is a wholly owned subsidiary of Citicorp LLC, which is a wholly

owned subsidiary of Citigroup Inc., a publicly traded company. Citibank believes that the

outcome of these proceedings will not substantially affect Citigroup's stock, equity, or debt.

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Page 1 - CORPORATE DISCLOSURE STATEMENT FOR DEFENDANT CITIBANK,                        TOMASI SALYER MARTIN
                                                                                            Attorneys at Law
N.A.                                                                                  121 SW Morrison St, Suite 1850
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                   2.    Citibank is unaware of any actual or potential conflict of interest involving

the District Judge and Magistrate Judge assigned to this case and will immediately notify the

Court in writing upon learning of any such conflict.

                   DATED: December 21, 2018.

                                                    TOMASI SALYER MARTIN


                                                    By: /s/ Eleanor A. DuBay
                                                       Eleanor A. DuBay, OSB #073755
                                                       Attorney for Defendant

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                                     CERTIFICATE OF SERVICE

                   I hereby certify that on December 21, 2018, I electronically transmitted the

attached CORPORATE DISCLOSURE STATEMENT FOR DEFENDANT CITIBANK,

N.A. to the Clerk's office using the CM/ECF System for filing and transmittal of a Notice of
Electronic Filing to the following CM/ECF registrants:
                   Sharon Cousineau
                   700 W Evergreen Blvd
                   Vancouver, WA 98660
                   sdcousineau@gmail.com
                          Attorney for Plaintiff

         DATED: December 21, 2018.

                                                   TOMASI SALYER MARTIN


                                                   By: /s/ Eleanor A. DuBay
                                                        Eleanor A. DuBay, OSB #073755
                                                        Attorney for Defendants

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Page 1 – CERTIFICATE OF SERVICE                                                          TOMASI SALYER MARTIN
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